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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

__________________________________________

In Re: COOK MEDICAL, INC., IVC FILTERS                       Case No. 1:14-ml-2570-RLY-TAB
MARKETING, SALES PRACTICES AND                                                 MDL No. 2570
PRODUCTS LIABILITY LITIGATION
__________________________________________

This Document Relates to:

Michael David Rebel

Civil Case # 1:22-cv-06841-RLY-TAB
__________________________________________

                                 NOTICE OF APPEARANCE

To:    The Clerk of the Court and all parties of record:

       I am admitted or otherwise authorized to practice in this Court, and I appear in this case as

counsel for Plaintiff Michael David Rebel.


Dated: July 20, 2022.                                Respectfully submitted,

                                                     /s/ Ben C. Martin
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                                                     Martin Baughman, PLLC
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                                                     Attorney for Plaintiff




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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 20, 2022, I electronically filed the foregoing document with
the Clerk of the Court using the CM/ECF system which will send notification of such filing to the
CM/ECF participants registered to receive service in this matter. Parties may access this filing
through the Court’s system.

                                                   /s/ Ben C. Martin
                                                   Ben C. Martin




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